    Case 1:22-cv-02292-CKK-GMH                Document 73        Filed 06/03/25      Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                       Plaintiff,

                         –v.–                           Case No. 1:22-cv-2292 (CKK)

 PETER K. NAVARRO,

                      Defendant.



                        STIPULATION OF VOLUNTARY DISMISSAL
        Pursuant to Federal Rule of Civil Procedure 41(a)(1(A)(ii), the parties hereby stipulate to the

dismissal of this action with prejudice, each side to bear its own fees and costs.

Dated: June 3, 2025                               Respectfully submitted,

                                                     /s/ Elizabeth J. Shapiro
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